210 F.3d 732 (7th Cir. 2000)
    Georgeen STEVENS,    Plaintiff-Appellant,v.Illinois Department of Transportation,    Defendant-Appellee.
    No. 98-3550
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued December 8, 1999Decided April 11, 2000
    
      Appeal from the United States District Court   for the Southern District of Illinois, Benton Division.  No. 96-4358--James L. Foreman, Judge. [Copyrighted Material Omitted]
      Before Harlington Wood, Jr., Coffey and Flaum, Circuit  Judges.
      Flaum, Circuit Judge.
    
    
      1
      Georgeen Stevens brought  suit alleging that her employer, the Illinois  Department of Transportation ("IDOT"), discharged  her for reasons related to her disability in  violation of the Americans with Disabilities Act  ("ADA" or "Act"), 42 U.S.C. sec. 12101 et seq.  After a jury returned a verdict in favor of  Stevens, the district court granted judgment  notwithstanding the verdict in favor of IDOT. For  the reasons stated herein, we vacate the judgment  for IDOT and dismiss this case for lack of  subject matter jurisdiction.
    
    I.  BACKGROUND
    
      2
      Georgeen Stevens worked as a highway maintainer  at IDOT's District 7 Traffic Operations Division  in Effingham, Illinois for approximately five  years, from 1991 to 1996. Maintainers in that  division are responsible for repairing and  replacing road signs, striping lines on  interstate highways, installing and maintaining  highway lights and removing snow. On September  20, 1993, a mechanical hand lever pump she was  operating on the job broke and struck Stevens in  the right chest area injuring her. As a result of  this injury, Stevens began to suffer from a  painful neurological condition known as reflex  sympathetic dystrophy. Because of this condition,  Stevens was unable to lift more than ten pounds  with her right arm or stay outside in  temperatures lower than fifty degrees for longer  than fifteen minutes without extreme pain.
    
    
      3
      Stevens's doctor wrote various letters to IDOT  stating that she should be provided with  accommodations for her disability but that her  ability to work depended on her ability to  withstand pain. The doctor stated that she should  be allowed to determine her own work limitations  and that her condition would not worsen or  improve even if she worked without the  recommended accommodations. Stevens requested  accommodation from IDOT but informed her  supervisors that she was willing to work without  accommodation if it could not be provided.
    
    
      4
      Stevens filed a worker's compensation claim and  it was determined that she suffered a 30 percent  permanent partial disability as a result of the  accident. After the worker's compensation  decision, IDOT fired Stevens because it concluded  that she was not able to perform the functions of  her job. Stevens then filed claims in federal  district court under Title VII for sex  discrimination and under the ADA for disability  discrimination. Her Title VII claim was dismissed  on summary judgment and was not appealed. The ADA  claim went to a jury trial where a verdict was  returned in favor of Stevens.
    
    
      5
      After trial, IDOT filed a motion to vacate the  verdict, claiming that the district court did not  have jurisdiction to hear the claim because IDOT  was immune from suit under the Eleventh  Amendment. The trial court denied this motion.  The trial court then overturned the verdict,  entering a judgment as a matter of law in favor  of IDOT because it found that there was not  substantial evidence to support the jury's  conclusion that Stevens could perform the  essential functions of her job, a critical  element of her ADA claim. Stevens now appeals.
    
    II.  DISCUSSION
    
      6
      In our recent decision Erickson v. Board of  Governors, 207 F.3d 945 (7th Cir.  Mar. 27, 2000), we reexamined our decision in  Crawford v. Indiana Dep't of Corrections, 115  F.3d 481, 487 (7th Cir. 1997), in light of the  subsequent Supreme Court decisions in Florida  Prepaid Postsecondary Educ. Expense Bd. v.  College Sav. Bank, 119 S. Ct. 2199 (1999), and  Kimel v. Florida Bd. of Regents, 120 S. Ct. 631  (2000), in which the Court more precisely defined  the limits of Congress's Section 5 power to  enforce the Fourteenth Amendment. In Erickson, we  concluded that the ADA was not enacted pursuant  to a valid exercise of Congress's Section 5 power  so that Congress had not effectively abrogated  the States' Eleventh Amendment immunity for  claims brought under that Act. We follow the  majority's conclusion in Erickson and we find  that IDOT, a department of the State of Illinois,  is immune from suit brought by an individual in  federal court under the ADA.1 We write further  to more fully explain the reasoning by which we  have reached this conclusion.2
    
    
      7
      The ADA was enacted "to provide a clear and  comprehensive national mandate for the  elimination of discrimination against individuals  with disabilities." 42 U.S.C. sec. 12101(b)(1).  The ADA specifically targets discrimination in  two broad areas: employment (Title I) and public  accommodations (Title II). This case only  involves allegations of employment discrimination  that fall under Title I. Under Title I, a covered  entity may discriminate in two ways: disparate  treatment of or failure to accommodate a disabled  employee. 42 U.S.C. sec. 12112; see Foster v.  Arthur Andersen, LLP, 168 F.3d 1029, 1032 (7th  Cir. 1999); Weigel v. Target Stores, 122 F.3d  461, 464 (7th Cir. 1997). To make out a claim  under the ADA, an individual must show: 1) that  she is disabled; 2) that she is otherwise  qualified to perform the essential functions of  the job with or without reasonable accommodation;  and 3) that the employer took an adverse job  action against her because of her disability or  failed to make a reasonable accommodation. 42  U.S.C. sec.sec. 12111-12; see Gile v. United  Airlines, Inc., 95 F.3d 492, 496 (7th Cir. 1996).  It is a defense to an ADA claim that an  employment criterion that adversely impacts  disabled persons is "job-related and consistent  with business necessity." 42 U.S.C. sec. 12113;  see EEOC v. AIC Security Investigations, Ltd., 55  F.3d 1276, 1283 (7th Cir. 1995).
    
    
      8
      The Eleventh Amendment renders a State immune  from any suit brought by an individual in federal  court unless the State has consented to being  sued in that forum. See Kimel, 120 S. Ct. at 640  ("[T]he Constitution does not provide for federal  jurisdiction over suits against nonconsenting  States."); Seminole Tribe of Fla. v. Florida, 517  U.S. 44, 54 (1996).3 Congress may abrogate the  States' Eleventh Amendment immunity and provide  for federal jurisdiction over individual suits  against States. However, Congress only has this  power to abrogate when it is acting pursuant to  its enforcement power under Section 5 of the  Fourteenth Amendment. See Kimel, 120 S. Ct. at  644; Seminole Tribe, 517 U.S. at 58. Congress may  not nullify States' Eleventh Amendment immunity  when it is operating under its Article I powers.  Kimel, 120 S. Ct. at 643-44; Florida Prepaid, 119  S. Ct. at 2205; Seminole Tribe, 517 U.S. at 72-73.
    
    
      9
      Congress has abrogated Illinois's Eleventh  Amendment immunity, if it 1) unequivocally  expressed its intent to abrogate the States'  Eleventh Amendment immunity through the ADA, and  2) acted pursuant to a valid exercise of its  power under Section 5 of the Fourteenth  Amendment. See Kimel, 120 S. Ct. at 640; Florida  Prepaid, 119 S. Ct. at 2205; Seminole Tribe, 517  U.S. at 55. The text of the ADA makes clear  Congress's explicit intent to abrogate the  States' Eleventh Amendment immunity for suits  brought by individuals under that statute. See 42  U.S.C. sec. 12202 ("A State shall not be immune  under the eleventh amendment to the Constitution  of the United States from an action in Federal or  State court of competent jurisdiction for  violation of this chapter."); 42 U.S.C. sec.  12101(b)(4) ("It is the purpose of this chapter  . . . to invoke the sweep of congressional  authority, including the power to enforce the  fourteenth amendment . . . ."). Therefore, it is  only necessary to discuss the scope of the  authority granted to Congress under Section 5 to  enact the ADA.
    
    
      10
      Congress's enforcement power under Section 5 is  not unlimited. See City of Boerne v. Flores, 521  U.S. 507, 518-19 (1997). Section 5 only  authorizes Congress to enact legislation that  remedies or prevents Fourteenth Amendment  violations.4 See Kimel, 120 S. Ct. at 644. In  order for a legislative enactment to be a valid  exercise of this power, Congress must "identify  conduct transgressing the Fourteenth Amendment's  substantive provisions, and must tailor its  legislative scheme to remedying or preventing  such conduct." Florida Prepaid, 119 S. Ct. at  2207. This does not mean that Congress may only  prohibit through federal legislation conduct that  is itself unconstitutional under the Fourteenth  Amendment. Federal legislation may prohibit "a  somewhat broader swath" than that which is  directly forbidden by the Amendment, provided  that the target of the legislation is to remedy  or prevent unconstitutional conduct. Kimel, 120  S. Ct. at 644; see City of Boerne, 521 U.S. at  518. The ultimate test is that "[t]here must be  a congruence and proportionality between the  injury to be prevented or remedied and the means  adopted to that end." City of Boerne, 521 U.S. at  520.
    
    
      11
      The analysis begins with identifying the conduct  targeted by Congress through the legislation in  question. The ADA purports to have the broad goal  of "the elimination of discrimination against  individuals with disabilities." 42 U.S.C. sec.  12101(b)(1). The types of discrimination at which  the statute is aimed are recited in the "Findings  and purpose" section of the Act. 42 U.S.C. sec.  12101(a). Some of the "various forms of  discrimination" outlined by Congress as targeted  by the Act include:
    
    
      12
      outright intentional exclusion, the  discriminatory effects of architectural,  transportation, and communication barriers,  overprotective rules and policies, failure to  make modifications to existing facilities and  practices, exclusionary qualification standards  and criteria, segregation, and relegation to  lesser services, programs, activities, benefits,  jobs, or other opportunities.
    
    
      13
      42 U.S.C. sec. 12101(a)(5). The ADA is tailored  to achieving its goal in part by forbidding  employment discrimination against the disabled  and imposing an affirmative duty to provide  reasonable accommodation on public and private  employers. See 42 U.S.C. sec. 12112.
    
    
      14
      Having identified the remedial and preventative  goal of the statute, we next proceed to examine  whether the conduct targeted by the ADA  constitutes a violation of the Fourteenth  Amendment. We start with the fundamental  principle that it is the judiciary, not the  legislature, that determines what conduct  violates the provisions of the Fourteenth  Amendment. See Kimel, 120 S. Ct. at 644 ("The  ultimate interpretation and determination of the  Fourteenth Amendment's substantive meaning  remains the province of the Judicial Branch.");  City of Boerne, 521 U.S. at 519. Therefore, we  look to judicial rulings, not congressional  pronouncements, in our consideration of whether  the conduct targeted by the ADA is  unconstitutional.
    
    
      15
      Disabled individuals, like any class, are  protected by the Equal Protection Clause of the  Fourteenth Amendment. See City of Cleburne v.  Cleburne Living Center, 473 U.S. 432, 446 (1985);  United States v. Harris, 197 F.3d 870, 876 (7th  Cir. 1999). We have previously held that the  level of protection afforded to this class is  that of rational basis review. See Harris, 197  F.3d at 876. Under traditional equal protection  analysis, it is a violation of the Fourteenth  Amendment for the State to discriminate against  disabled persons in an irrational manner or for  an illegitimate reason. However, the Fourteenth  Amendment allows the State to single out the  disabled for different treatment so long as it  has a rational or legitimate purpose. See  Cleburne, 473 U.S. at 446-47. As with other  characteristics that receive rational basis  protection, a State may rely on disability "as a  proxy for other qualities, abilities, or  characteristics that are relevant to the State's  legitimate interests." Kimel, 120 S. Ct. at 646.  "That [disability] proves to be an inaccurate  proxy in any individual case is irrelevant." Id.  Furthermore, it is presumed that distinctions  made by the State that are based on disability  are rational and legitimate. See id.; Cleburne,  473 U.S. at 441. The burden rests on the  individual to demonstrate that the government's  claimed purpose is illegitimate or that the means  used to achieve that purpose are irrational. See  Kimel, 120 S. Ct. at 646.
    
    
      16
      Under the ADA, disabled individuals receive  substantially more protection than provided by  the Fourteenth Amendment. State practices  affecting the disabled do not receive the same  presumption of legitimacy that they do under  rational basis scrutiny. In many cases, once a  qualified individual with a disability has  demonstrated that the State took an adverse  employment action against her because of her  disability, the burden shifts to the State to  show that it had a legitimate, non-discriminatory  reason for the practice. See DeLuca v. Winer  Indus., Inc., 53 F.3d 793, 797 (7th Cir. 1995)  (applying a burden-shifting approach to an ADA  claim); but see Pond v. Michelin N. Am., Inc.,  183 F.3d 592, 597 n.5 (7th Cir. 1999) (noting  that the burden-shifting approach only applies to  claims for disparate treatment under the ADA and  does not apply to claims for failure to  reasonably accommodate). Furthermore, under the  ADA it is no longer the case that any rational  reason will support the State's action. The ADA  imposes on the state a duty to accommodate  disabled individuals and prohibits the State from  denying any accommodation that is determined to  be "reasonable" under the Act. See Vande Zande v.  State of Wisc. Dep't of Admin., 44 F.3d 538, 541-  542 (7th Cir. 1995). As long as the disabled  individual is able to perform the essential  functions of the position in question, the State  cannot choose for a legitimate policy reason to  treat disabled employees differently from non-  disabled employees. Moreover, while the  Fourteenth Amendment allows the State to make  broad generalizations about the disabled, the ADA  "starts with a presumption in favor of requiring  the employer to make an individualized  determination." Kimel, 120 S. Ct. at 647; see  Weigel, 122 F.3d at 466 (noting that "the ADA's  'qualified individual' inquiry . . . necessarily  involves an individualized assessment of the  individual and the relevant position").
    
    
      17
      As with the Age Discrimination in Employment  Act ("ADEA") discussed in Kimel, the ADA shifts  the burden in a disability discrimination case  from the individual to the State, raises the  level of judicial scrutiny from rationality  review to a heightened level of scrutiny, and  disallows the approximations and generalizations  that are permitted for classes that otherwise  receive only rational basis protection. In sum,  the ADA replaces the Fourteenth Amendment's  constitutional protections with a higher set of  legislative standards, thereby making illegal  under the ADA conduct that is constitutional  under the Fourteenth Amendment.
    
    
      18
      The fact that Congress prohibits some conduct  that is constitutional under the Fourteenth  Amendment does not end our discussion. We also  examine the proportionality between the measures  taken by Congress pursuant to its Section 5  powers and the unconstitutional conduct that is  properly the target of that enforcement effort.  See Kimel, 120 S. Ct. at 644; City of Boerne, 521  U.S. at 520. By proportionality we mean that  "[t]he appropriateness of remedial measures must  be considered in light of the evil presented.  Strong measures appropriate to address one harm  may be an unwarranted response to another, lesser  one." City of Boerne, 521 U.S. at 530 (internal  citations omitted). It is in this respect that  this case differs from other cases recently  decided by the Supreme Court in this area. Unlike  with respect to its enactment of the ADEA, the  Patent and Plant Variety Protection Remedy  Clarification Act, or the Religious Freedom  Restoration Act, Congress made extensive findings  of discrimination against the disabled to support  its passage of the ADA. Compare 42 U.S.C. sec.  12101, and Coolbaugh v. State of Louisiana, 136  F.3d 430, 436 (5th Cir. 1998) (noting the broad  range of evidence upon which Congress made  extensive findings of discrimination against the  disabled in support of the passage of the ADA),  with Kimel, 120 S. Ct. at 649 ("Congress never  identified any pattern of age discrimination by  the States"), Florida Prepaid, 119 S. Ct. at 2207  ("Congress identified no pattern of patent  infringement by the States"), and City of Boerne,  521 U.S. at 530 ("RFRA's legislative record lacks  examples of modern instances of generally  applicable laws passed because of religious  bigotry."). With the enactment of the ADA,  Congress was not acting to remedy or prevent  unsubstantiated harm but was attempting to  address the documented injury of pervasive  disability discrimination.
    
    
      19
      However, not all discrimination against a  particular class is discrimination that is  unconstitutional under the Fourteenth Amendment.  As noted above, discrimination against groups  that receive rational basis protection is only  unconstitutional where that discrimination is  arbitrary and unrelated to a legitimate  government purpose. In this case, the  discrimination targeted by the ADA may well  include such arbitrary and illegitimate  distinctions concerning disabled persons.  However, the ADA also undoubtedly prohibits much  conduct that is permissible under the Fourteenth  Amendment. See Vande Zande, 44 F.3d at 541(noting  that the discrimination prohibited by the ADA is  not only that which is arbitrary or irrelevant to  legitimate considerations). The fact that the ADA  targets some discrimination that is not a  violation of the Fourteenth Amendment is  reflected in the Congressional finding that  "unlike individuals who have experienced  discrimination on the basis of race, color, sex,  national origin, religion, or age, individuals  who have experienced discrimination on the basis  of disability have often had no legal recourse to  redress such discrimination." 42 U.S.C. sec.  12101(a)(4). Thus, while the ADA may remedy and  prevent arbitrary and illegitimate discrimination  against the disabled that is unconstitutional, it  also sweeps in a wide area of conduct singling  out the disabled that is not prohibited by the  Fourteenth Amendment.
    
    
      20
      It is apparent that the broad sweep of the ADA  is not "'adapted to the mischief and wrong which  the [Fourteenth] [A]mendment was intended to  provide against.'" City of Boerne, 521 U.S. at  532 (quoting Civil Rights Cases, 109 U.S. 3, 13  (1883)) (brackets in the original). As the  Supreme Court has repeatedly noted, the  Fourteenth Amendment is aimed at preventing  discrimination by the States, as opposed to  discrimination by private actors that may be  addressed through Congress's Article I powers.  See Kimel, 120 S. Ct. at 649; Florida Prepaid, 119  S. Ct. at 2207; City of Boerne, 521 U.S. at 530.  In its passage of the ADA, Congress appears to  have relied on significant findings of  discrimination against the disabled throughout  society. However, these findings do not reveal  that the States themselves are discriminating  against the disabled in an arbitrary or  illegitimate fashion such that it is appropriate  for the federal government to step in with  federal legislation aimed at compelling  compliance with the dictates of the  Constitution.5 The lack of evidence that the  States are pervasively discriminating against the  disabled is compounded by the fact that virtually  every State in the Union has promulgated state  statutes prohibiting discrimination against the  disabled in employment.6 Moreover, several  States have explicit policies encouraging the  employment of the disabled in state government  positions.7 There is no evidence in the  legislative record that the States are acting  contrary to these policies or that those States  which do not have them are engaged in widespread  discrimination against the disabled. It is only  when the States themselves are engaged in conduct  that violates the Fourteenth Amendment that  Congress is authorized to step in under Section  5 to remedy and prevent those violations. See  Kimel, 120 S. Ct. at 645; Florida Prepaid, 119  S. Ct. at 2211. We do not doubt that occasionally  States falter in their efforts to eliminate  discrimination in state employment. However, the  broad sweeping federal legislative remedy that is  the ADA is out of proportion to correcting the  transgressions that do occur. Without more  detailed findings concerning a nationwide pattern  of arbitrary and illegitimate discrimination  against the disabled by the States, the ADA  cannot be viewed as a proportional and congruous  response to the problem of state-perpetrated  discrimination against the disabled. While the  ADA's goal of eliminating discrimination against  the disabled throughout society may be a laudable  aim for federal legislation, it is not one which  serves the purpose of enforcing the protections  provided by the Fourteenth Amendment. See City of  Boerne, 521 U.S. at 519 ("Congress does not  enforce a constitutional right by changing what  the right is. It has been given the power 'to  enforce,' not the power to determine what  constitutes a constitutional violation.").
    
    
      21
      In conclusion, we wish to emphasize the limited  nature of our decision in this case as well as  our decision in Erickson. We have only concluded  that States are entitled to Eleventh Amendment  immunity for suits brought by individuals under  the ADA. The limitations on that immunity apply  with equal force in this context. See, e.g.,  United States v. Mississippi, 380 U.S. 128, 140-  141 (1965); Edelman v. Jordan, 415 U.S. 651  (1974); Ex Parte Young, 209 U.S. 123 (1908).  Furthermore, our decisions do not address the  validity of the ADA as an exercise of Congress's  Commerce Clause power. Therefore, in all contexts  other than that of an individual suing a State in  federal court, the ADA retains its full force as  a means of enforcing nationwide standards for  non-discriminatory treatment of the disabled.
    
    III.  CONCLUSION
    
      22
      Passage of the ADA was not a proper exercise of  Congress's authority under Section 5 of the  Fourteenth Amendment. Therefore, the ADA does not  abrogate the States' Eleventh Amendment immunity,  and IDOT, as a department of the State of  Illinois, cannot be sued without its consent in  federal court for a violation of the ADA. We  conclude that the district court did not have  subject matter jurisdiction to hear this case. We  Vacate the district court's entry of judgment in  favor of the defendant and Dismiss this case for  lack of subject matter jurisdiction.
    
    
      
        Notes:
      
      
        1
         Suits against departments of state government are  equivalent to suits against a State for purposes  of Eleventh Amendment immunity analysis. See  Pennhurst State Sch. &amp; Hosp. v. Halderman, 465  U.S. 89, 100-101 (1983).
      
      
        2
         Because we find that Illinois is immune from  suit, we limit our discussion to that issue and  do not discuss the merits of Stevens's claim. In  addition, Congress's power to enact the ADA  pursuant to the Commerce Clause is not an issue  in this appeal and is not addressed by this  opinion.
      
      
        3
         We find no evidence in the record that IDOT  consented to suit in federal court. The mere fact  that the Illinois Attorney General appeared in  federal court to represent the State's interests  is not sufficient to constitute consent by the  State to be sued in a federal forum. See Estate  of Porter v. Illinois, 36 F.3d 684, 691 (7th Cir.  1994) (finding that the Attorney General of  Illinois is not authorized to waive the State's  Eleventh Amendment immunity).
      
      
        4
         The Fourteenth Amendment provides:
        Section 1.  . . . . No State shall make or  enforce any law which shall abridge the  privileges or immunities of citizens of the  United States; nor shall any State deprive any  person of life, liberty, or property, without due  process of law; nor deny to any person within its  jurisdiction the equal protection of the laws. .  . .
        Section 5.  The Congress shall have power to  enforce, by appropriate legislation, the  provisions of this article.
      
      
        5
         The dissent in Erickson notes that Congress made  findings concerning discrimination against the  disabled in areas such as education, health care  and transportation that are traditionally  provided, at least in part, by state governments.  Erickson, 207 F.3d 945, 957-58.  However, there is no indication that any  discrimination found by Congress was arbitrary or  irrational such that it would constitute a  violation of the Fourteenth Amendment.
      
      
        6
         See Ala. Code sec.21-7-8; Alaska Stat.  sec.18.80.220; Ariz. Rev. Stat. sec. 41-1463;  Ark. Code Ann. sec. 11-13-110; Cal. Gov't Code  sec. 12940; Colo. Rev. Stat. sec. 24-34-402;  Conn. Gen. Stat. sec. 46a-60; Del. Code Ann. tit.  19, sec. 724; Fla. Stat. ch. 760.10; Ga. Code  Ann. sec. 34-6A-4; Haw. Rev. Stat. sec. 378-2;  Idaho Code sec. 67-5909; 775 Ill. Comp. Stat.  5/1-102; Ind. Code sec. 22-9-1-2; Iowa Code sec.  216.6; Kan. Stat. Ann. 44-1001; Ky. Rev. Stat.  Ann. sec. 207.150; La. Rev. Stat. Ann. sec.  23:323; Me. Rev. Stat. Ann. tit. 5, sec. 4572;  Md. Ann. Code art. 49B, sec. 16; Mass. Gen. Laws  ch. 93, sec. 103; Mich. Comp. Laws sec. 37.1202;  Minn. Stat. sec. 363.03; Miss. Code Ann. sec. 43-  6-15; Mo. Rev. Stat. sec. 213.055; Mont. code  Ann. sec. 49-4-101; Neb. Rev. Stat. sec. 48-1104;  Nev. Rev. Stat. sec. 613.310; N.H. Rev. Stat.  Ann. sec. 354-A:7; N.J. Stat. Ann. sec. 10:5-4.1;  N.M. Stat. Ann. sec. 28-7-2; N.Y. Exec. Law sec.  296; N.C. Gen. Stat. sec. 168A-5; N.D. Cent. Code  sec. 14-02.4-03; Ohio Rev. Code sec. 4112.02;  Okla. Stat. Ann. tit. 25, sec. 1302; Or. Rev.  Stat. sec. 659.436; 43 Pa. Cons. Stat. sec. 955;  R.I. Gen. Laws sec. 28-5-7; S.C. Code Ann. sec.  1-13-80; S.D. Codified Laws sec. 20-13-10; Tenn.  Code Ann. sec. 8-50-103; Tex. Lab. Code sec.  21.128; Utah Code Ann. sec. 34A-5-106; Vt. Stat.  Ann. tit. 3, sec. 495; Va. Code Ann. sec. 51.5-  41; Wash. Rev. Code sec. 49.60.180; W. Va. Code  sec. 5-11-9; Wis. Stat. sec. 111.31; Wyo. Stat.  Ann. sec. 27-9-105.
      
      
        7
         See, e.g., Ala. Code sec.21-7-8; Alaska Stat.  sec.39.25.150; Ariz. Rev. Stat. sec. 41-783; Ark.  Code Ann. sec. 20-14-301; Colo. Rev. Stat. sec.  24-34-801; Conn. Gen. Stat. sec. 46a-70; Fla.  Stat. ch. 413-08; Ga. Code Ann. sec. 30-1-2; Haw.  Rev. Stat. sec. 347-20; Idaho Code sec. 56-707;  775 Ill. Comp. Stat. 30/5; Ind. Code sec. 16-32-  3-5; Iowa Code sec. 19B.2; Kan. Stat. Ann. 39-  1005; Me. Rev. Stat. Ann. tit. 17, sec. 1316; Md.  Ann. Code art. 30, sec. 33; Minn. Stat. sec.  256C.01; Miss. Code Ann. sec. 43-6-15; Mo. Rev.  Stat. sec. 209.180; Mont. code Ann. sec. 49-4-  202; Neb. Rev. Stat. sec. 20-131; Nev. Rev. Stat.  sec. 284.012; N.H. Rev. Stat. Ann. sec. 167-C:5;  N.J. Stat. Ann. sec. 11A:7-3; N.M. Stat. Ann.  sec. 28-7-7; N.C. Gen. Stat. sec. 128-15.3; N.D.  Cent. Code sec. 25-13-05; Okla. Stat. Ann. tit.  74, sec. 840-2.9; R.I. Gen. Laws sec. 28-5.1-4;  S.C. Code Ann. sec. 43-33-60; Tenn. Code Ann.  sec. 71-4-202; Tex. Hum. Res. Code sec. 91.017;  Utah Code Ann. sec. 26-30-3; Vt. Stat. Ann. tit.  21, sec. 309a; Va. Code Ann. sec. 51.5-41; Wash.  Rev. Code sec. 70.84.080; Wis. Stat. sec. 230.01.
      
    
    